 Case: 1:22-cv-01455-DAP Doc #: 10 Filed: 11/10/22 1 of 2. PageID #: 125




                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

JOHN KOE,                                    )
                                             )             CASE NO. 1:22 CV 01455
              Plaintiff,                     )
                                             )      JUDGE DAN AARON POLSTER
        vs.                                  )
                                             )      ORDER
UNIVERSITY HOSPITALS HEALTH                  )

SYSTEM, INC., et al.,                        )
                                             )
               Defendants.                   )


       Pro se plaintiff John Koe filed a motion to alter or amend judgment and for

reconsideration of the Court’s October 11, 2022 Order granting Defendants’ motion for a

protective order and the Court’s October 13, 2022 Order dismissing Plaintiff’s action (Doc. No.

9).

       The purpose of a motion to alter or amend judgment is to request reconsideration of

matters “properly encompassed in a decision on the merits.” See Osterneck v. Ernst & Whinney,

489 U.S. 169, 174, 109 S. Ct. 987, 103 L. Ed. 2d 146 (1989). “It is not the function of a motion

to reconsider either to renew arguments already considered and rejected by a court or ‘to proffer

a new legal theory or new evidence to support a prior argument when the legal theory or

argument could, with due diligence, have been discovered and offered during the initial

consideration of the issue.’” McConocha v. Blue Cross and Blue Shield Mut. of Ohio, 930 F.
    Case: 1:22-cv-01455-DAP Doc #: 10 Filed: 11/10/22 2 of 2. PageID #: 126




Supp. 1182, 1184 (N.D. Ohio 1996) (quoting In re August, 1993 Regular Grand Jury, 854 F.

Supp. 1403, 1408 (S.D. Ind. 1994)). A motion to alter or amend a judgment may be granted

only if there has been: (1) a clear error of law; (2) an intervening change in the law; (3) newly

discovered evidence; or (4) a showing of manifest injustice. Jones v. Gobbs, 21 Fed. App’x

322, 323 (6th Cir. 2001) (citing GenCorp, Inc. v. American Int'l Underwriters, 178 F.3d 804,

832 (6th Cir. 1999)).

        Here, Plaintiff’s motion fails to demonstrate any of the above circumstances that would

warrant altering the Court’s judgment granting the protective order or dismissing his complaint.

Accordingly, Plaintiff’s motion (Doc. No. 9) is denied.

        The Court finds, pursuant to 28 U.S.C. § 1915(a)(3), that an appeal from this decision

could not be taken in good faith.

.       IT IS SO ORDERED.

                                                                                11/10/2022
                                              DAN AARON POLSTER
                                              UNITED STATES DISTRICT JUDGE




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